Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.1 Filed 08/05/21 Page 1 of 11

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
UNITED STATES OF AMERICA, Case:5-21-cr-20510
Judge: Levy, Judith E.
Plaintiff, MJ: Stafford, Elizabeth A.

Filed: 08-05-2021 At 03:45 PM
INDI USA V. SEALED MATTER (DA)

Violation: 18 U.S.C. § 1349

Vv.

D-1 SHARODNEY HARRISON,
D-2 SEANDREA CRAWFORD,
D-3 SHARRELL HARRISON,
D-4 SHA-RON HARRISON,
D-5 SHAREASE HARRISON,
D-6 EDWARD TAYLOR,

D-7 JAMES MAYFIELD,

D-8 FRANK JENNINGS,

D-9 SHARONDA GRIFFIN,

Defendants.

INDICTMENT
THE GRAND JURY CHARGES THAT:
GENERAL ALLEGATIONS

At times relevant to this Indictment:

Unemployment Insurance Program

1. The Social Security Act of 1935 initiated the federal and state
unemployment insurance (UI) system. The system provides benefits to individuals
who are unemployed for reasons beyond their control. The purpose of the UI system
is twofold: first, to lessen the effects of unemployment through cash payments made
directly to laid-off workers, and second, to ensure that life necessities are met on a

weekly basis while the worker seeks employment. In Michigan, the UI system is

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Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.2 Filed 08/05/21 Page 2 of 11

administered by the Michigan Unemployment Insurance Agency (MUIA), which is
part of the Michigan’s Department of Labor and Economic Opportunity. Other
States administer their UI programs through similar state-run agencies. Regardless
of state, the U.S. Department of Labor funds each of the respective state agency’s
administrative costs, including salaries, office expenses, and computer equipment.

2. State unemployment systems and benefits are largely financed by taxes
on private employers located in that state. When state unemployment benefits are
exhausted, they may be supplemented by federal funds appropriated by the U.S.
Department of Labor. At times relevant to this indictment, the federal government
was providing significant supplemental benefits to the states as a result of the
COVID-19 pandemic.

3. Beginning in or about March 2020 and continuing through the present,
the Families First Coronavirus Response Act (FFCRA); Coronavirus Aid, Relief,
and Economic Security (CARES) Act; and American Rescue Plan Act of 2021
(ARPA) have created federal programs that allowed for the significant outlay of
federal funds flowing to and through the states to offset the historic need for
unemployment benefits by the American workforce, including in the State of
Michigan and in the Eastern District of Michigan. Collectively, these benefits are
often referred to as Pandemic Unemployment Assistance (PUA).

4. Normally, in the absence of fraud, an unemployed worker initiates an

UI claim in person, over the telephone, or on the Internet. Currently, the

overwhelming majority of UI claims are filed online through a state website. In order

2

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.3 Filed 08/05/21 Page 3 of 11

to be eligible for UI benefits, the worker must demonstrate a certain level of earnings
in several quarters immediately preceding the application. The amount of
unemployment benefits that a UI claimant might be eligible for depends on a variety
of factors, including but not limited to the length of his or her previous employment
and the amount of wages he or she earned.

5. The state agency will either approve or reject a UI claim based on the
application made by the unemployed worker. If the state agency approves a UI claim,
the claimant is required to re-certify the claim via telephone or Internet at various
times during the life of the claim. The worker must also certify that he or she is still
unemployed and actively seeking work.

6. One way in which the State of Michigan provides unemployment
benefits to a claimant is through the use of a debit card, issued by the Bank of
America, which is mailed to the claimant through the U.S. Postal Service. The
unemployment benefits are loaded onto the debit card electronically. Alternatively,
a worker can provide the state agency with a bank routing number and bank account,
and Bank of America will deposit their unemployment benefits directly. In either
case, additional benefits are loaded electronically by Bank of America at intervals
thereafter.

7. The Bank of America centers used to process Michigan’s UI claims are
located in Virginia and Texas, so claims filed in Michigan result in interstate wire

transmissions from the state of Michigan to the states of Virginia or Texas to initiate

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payment of benefits.

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.4 Filed 08/05/21 Page 4 of 11

8. When a claimant using an internet protocol (IP) address registered in
Michigan files a claim with an out-of-state UI agency, the servers used to process
those claims are located outside the state of Michigan. For example, a California
claim filed from an IP address registered to a Michigan residence will be processed
through a server located outside of the state of Michigan.

9. In an effort to prevent and otherwise inhibit fraud, the state agencies
capture certain data surrounding the interaction between an individual and the UI
system, Although states utilize their own unique systems, many times the data that
is collected includes the dates, times, and IP address associated with a device
accessing a claim. The state systems tie this information to the user-entered
information captured to facilitate the claim (i.e. name, address, social security
number, Bank of America or other bank account numbers, bank routing numbers,
etc.).

The Defendants and Relevant Individuals

10. Defendant SHARODNEY HARRISON was a resident of the Eastern
District of Michigan.

11. Defendant SEANDREA CRAWFORD was a resident of the Eastern
District of Michigan.

12. Defendant SHARRELL HARRISON was a resident of the Eastern
District of Michigan.

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13. Defendant SHA-RON HARRISON was a resident of the Eastern

District of Michigan.

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.5 Filed 08/05/21 Page 5 of 11

14. Defendant SHAREASE HARRISON was a resident of the Eastern
District of Michigan.

15. Defendant EDWARD TAYLOR was a resident of the Eastern District
of Michigan.

16. Defendant JAMES MAYFIELD was a resident of the Eastern District
of Michigan.

17. Defendant FRANK JENNINGS was a resident of the Eastern District
of Michigan.

18. Defendant SHARONDA GRIFFIN was a resident of the Eastern
District of Michigan.

Purpose of the Scheme to Defraud

19. The purpose of the scheme to defraud was to obtain money by, among

other things, submitting fraudulent UI claims.
The Scheme to Defraud

20. Between on or about February 1, 2020, to on or about January 26,
2021, SHARODNEY HARRISON devised a scheme to defraud several states and
the federal government by filing fraudulent UI claims using the personal information
of individuals without their knowledge or consent, or who were not eligible to
receive benefits, or both.

a1. SHARODNEY HARRISON conspired with other individuals to assist
with and participate in his scheme. Among the actions taken by those individuals to

further the goals of the scheme were: (1) creating email accounts to link with UI

5

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.6 Filed 08/05/21 Page 6 of 11

claims; (2) submitting fraudulent UI claims; (3) re-certifying the UI claims; (4) using
their telephone numbers to verify identity of the fraudulent claims; (5) creating
online bank accounts in which the UI benefits were deposited; (6) collecting mail
for the UI claims; and (7) collecting mail with pre-paid cards on which UI benefits
had been deposited. SHARODNEY HARRISON and other members of the
conspiracy shared information about filing fraudulent UI claims and worked together
to file fraudulent UI claims. In return for their assistance, SHARODNEY
HARRISON would promise to pay individuals using proceeds from the fraud
scheme.

22. In furtherance of the scheme, SHARODNEY HARRISON and the
other individuals involved in this scheme communicated via text message and

telephone.

COUNT ONE
18 U.S.C. § 1349
Conspiracy to Commit Wire Fraud

D-1 SHARODNEY HARRISON,
D-2 SEANDREA CRAWFORD,
D-3 SHARRELL HARRISON,
D-4 SHA-RON HARRISON,
D-5 SHAREASE HARRISON,
D-6 EDWARD TAYLOR,

D-7 JAMES MAYFIELD,

D-8 FRANK JENNINGS,

D-9 SHARONDA GRIFFIN.

23. Paragraphs 1 through 22 of this Indictment are realleged and
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incorporated by reference as though fully set forth herein.

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.7 Filed 08/05/21 Page 7 of 11

24. From on or about February 1, 2020, to on or about January 26, 2021,
in the Eastern District of Michigan, and elsewhere, the defendants, SHARODNEY
HARRISON, SEANDREA CRAWFORD (“CRAWFORD”), SHARRELL
HARRISON, SHA-RON HARRISON, SHAREASE HARRISON, EDWARD
TAYLOR (“TAYLOR”), JAMES MAYFIELD (“MAYFIELD”), FRANK
JENNINGS (“JENNINGS”), and SHARONDA GRIFFIN (“GRIFFIN”), did
knowingly, intentionally, and willfully combine, conspire, confederate, and agree
with each other and other individuals, both known and unknown to the Grand Jury,
to commit wire fraud, that is, knowingly, willfully, and with the intent to defraud,
having devised and intending to devise a scheme and artifice to defraud, and to
obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises, knowing such pretenses, representations, and
promises were false and fraudulent when made, transmit and cause to be transmitted,
by means of wire, radio, and television communication, writings, signals, pictures,
and sounds in interstate and foreign commerce for the purposes of executing such
scheme and artifice, in violation of Title 18, United States Code, Section 1343.

Object of the Conspiracy

25, The object of the conspiracy was the same as the purpose of the scheme

to defraud set forth in Paragraph 19 of this Indictment.

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Manner and Means of the Conspiracy

26. It was part of the conspiracy that some members of the conspiracy, and

others known and unknown to the grand jury, created email addresses, designed to

7

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.8 Filed 08/05/21 Page 8 of 11

appear to be the legitimate email address of a UI claimant, in furtherance of
fraudulent claims.

27. It was part of the conspiracy that some members of the conspiracy, and
others known and unknown to the grand jury, would use their own names and the
names of third parties, email addresses, and other personal information, to file
fraudulent UI claims, usually without the knowledge or consent of the named
claimants.

28. It was part of the conspiracy that some members of the conspiracy, and
others known and unknown to the grand jury, would share information with each
other about how to commit UI fraud efficiently and successfully in various
jurisdictions.

29. It was part of the conspiracy that SHARODNEY HARRISON, and
others known and unknown to the grand jury, coordinated and arranged for
HARRISON to have UI claims information and UI debit cards sent to their home or
neighboring addresses.

30. It was part of the conspiracy that others known and unknown to the
grand jury would then alert SHARODNEY HARRISON when UI information or UI
debit cards arrived at those addresses. SHARODNEY HARRISON would then tell
those individuals what to do with UI information and debit cards that they received.

31. It was part of the conspiracy that some members of the conspiracy
traveled from Michigan to California from on or about August 25, 2020, to on or

about September 4, 2020, to expedite the process of filing fraudulent UI claims in
8

Case 5:21-cr-20510-JEL-EAS ECF No.1, PagelD.9 Filed 08/05/21 Page 9 of 11

California. Believing that they could have California UI claims paid more quickly
if California mailing addresses were used for the UI claims, these members of the
conspiracy rented an Airbnb located in Los Angeles, California, and used the address
of that Airbnb and other California addresses to file fraudulent California UI claims
in the days leading up to the trip, and while they were in California.

All in violation of Title 18, United States Code, Section 1349.

FORFEITURE ALLEGATIONS

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32. Pursuant to Fed. R. Cr. P. 32.2(a), the government hereby provides

notice to the defendants of its intention to seek forfeiture of all proceeds, direct or
indirect, or property traceable thereto, all property that facilitated the commission of
the violations alleged, or property traceable thereto, and all property involved in, or
property traceable thereto, of the violations set for in this Indictment.

33. Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of Defendants:
a. Cannot be located upon the exercise of due diligence;
b. Has been transferred or sold to, or deposited with, a third party;
c. Has been placed beyond the jurisdiction of the Court;
d. Has been substantially diminished in value; or

e. Has been commingled with other property that cannot be divided
without difficulty;

Case 5:21-cr-20510-JEL-EAS ECF No. 1, PagelD.10 Filed 08/05/21 Page 10 of 11

the United States of America shall be entitled to forfeiture of substitute property
pursuant to Title 21, United States Code, Section 853(p), and Title 28, United States
Code, Section 2461(c).

THIS IS A TRUE BILL

s/ Grand Jury Foreperson
Grand Jury Foreperson

SAIMA S. MOHSIN
Acting United States Attorney

John K. Neal
Assistant United States Attorney
Chief, White Collar Crime Unit

s/ Mark Chasteen

Mark Chasteen

Meghan Sweeney Bean

Assistant United States Attorneys

Dated: August 5, 2021

10

Case 5:21-cr-20510-JEL-EAS ECF No. 1, PagelD.11 Filed 08/05/21 Page 11 of 11

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United States District Court imi Mu: Stafford, Elizabeth A.
Eastern District of Michigan Criminal Case Cov Filed: 08-05-2021 At 03:45 PM

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NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

i a Companion Case Number:

This may be a companion case based upon LCrR 57.10 (by)! Judge Assigned:
Ll Yes No ausa’sinitias: Ly,

Case Title: USA v. SHARODNEY HARRISON, et al

County where offense occurred : Wayne County

i
Check One: Felony [ JMisdemeanor (_IPetty
V_Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case. o 4
P a . .
August 5, 2021 ae
Date Mark Chasteen

Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, Ml 48226-3277

Phone: 313-226-9555

Fax: 313-226-2873

E-Mail address: Mark.Chasteen@usdoj.gov

Attorney Bar #:

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated. /
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